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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

RUTHIE M. BOSTICK, individually and                  )
as wife and next of kin of ROBERT S.                 )
BOSTICK, deceased, and on behalf of his              )
estate,                                              )
        Plaintiff,                                   )       No. 2:22-cv-02308
                                                     )
v.                                                   )
                                                     )
LONNIE TALLEY and CARGO CARE INC.,                   )
    Defendants.                                      )


             NOTICE OF REMOVAL BY DEFENDANT CARGO CARE INC.


        COMES NOW Cargo Care Inc., defendant in the above-styled suit, and, within the time

prescribed by law, files this Notice of Removal pursuant to 28 U.S.C. § 1446, and respectfully

shows the Court the following facts:

     1. Plaintiff filed suit against Cargo Care Inc. in the Circuit Court of Shelby County, State

        of Tennessee, where the underlying accident occurred. This suit is styled as above and

        numbered Docket No. CT-1187-22 in that Court.

     2. Plaintiff is resident and citizen of the State of Tennessee.

     3. Defendant Cargo Care Inc. is a Texas corporation with its principle place of business

        in Texas. Cargo Care Inc. was served with the lawsuit on April 22, 2022.

     4. Upon information and belief, Defendant Lonnie Talley is a resident and citizen of the

        State of Texas. Cargo Care Inc. has no information whether Lonnie Talley has been

        served with the lawsuit.

     5. Complete diversity exists between Plaintiff and Defendants in accordance with 28
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       U.S.C. § 1332(a)(1).

   6. Plaintiff contends that she is entitled to damages in excess of $75,000.00. Accordingly,

       the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and

       costs.

   7. This is a civil action over which this Court has original jurisdiction under the provisions

       of 28 U.S.C. § 1332 in that it is a civil action in which the matter in controversy exceeds

       the sum of $75,000, exclusive of interests and costs, and is between citizens of different

       states. Accordingly, this is a civil action which may be removed to this Court by Cargo

       Care Inc. pursuant to the provisions of 28 U.S.C. § 1446.

   8. This Notice is filed within thirty days of purported service upon Cargo Care Inc.

       pursuant to the requirements of 28 U.S.C. § 1446(b).

   9. Cargo Care Inc. has attached hereto copies of all process, pleadings, and orders filed in

       the state court in this case as follows:

        • Exhibit 1: Complaint;

        • Exhibit 2: Summons to Cargo Care Inc.;

        • Exhibit 3: Summons to Lonnie Talley;

        • Exhibit 4: Consent Order Substituting Counsel; and

        • Exhibit 5: Notice of Appearance for Cargo Care Inc.

       WHEREFORE, Cargo Care Inc. prays this case be removed to the United States District

Court for the Western District of Tennessee, Western Division.
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                      Respectfully submitted this 18th day of May, 2022,


                      COPELAND, STAIR, VALZ & LOVELL, LLP

                      /s/ G. Graham Thompson
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                      G. GRAHAM THOMPSON; BPR 034467
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of this pleading has been
served upon counsel for the Plaintiff by email and/or placing a true and exact copy of said
pleading in the United States Mail with sufficient postage thereupon to carry the same to its
destination, addressed as follows:


REAVES LAW FIRM, PLLC
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       This 18th day of May, 2022,


                                     COPELAND, STAIR, VALZ & LOVELL, LLP


                                     By:     /s/ G. Graham Thompson

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